













Opinion issued January 22, 2004








In The
Court of Appeals
For The
First District of Texas
____________

NO. 01-04-00002-CV
____________

IN RE PAUL GREEN, Relator




Original Proceeding on Petition for Writ of Mandamus




MEMORANDUM OPINION
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;Relator, Paul Green, has filed a motion to dismiss his petition for writ of
mandamus.  No opinion has issued.  Accordingly, the motion is granted, and the
petition is dismissed.  Tex. R. App. P. 42.1(a)(1).
PER CURIAM
Panel consists of Justices Nuchia, Alcala, and Bland.


